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UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA

Case No. 8:19-CV-00609-WFJ-AAS

JEREMY JACKSON, individually and on
behalf of all others similarly situated,

Plaintiff, CLASS ACTION

v,
PAYCRON INC., a Florida company,

Defendant.

 

 

ORDER GRANTING PLAINTIFF LEAVE
TO TAKE DISCOVERY PRIOR TO ENTRY OF FINAL JUDGMENT

This cause came before the Court on Plaintiff Jeremy Jackson’s motion requesting leave
to take discovery prior to the entry of final judgment against defaulted Defendant Paycron, Inc.,
which was filed as part of Plaintiff's motion for class certification. See [D.E. 7]. Specifically,
Plaintiff requests leave to take discovery (1) to identify members of a conditionally certified
Class of similarly situated consumers that received unsolicited, telemarketing calls made by or
on behalf of Defendant in violation the Telephone Consumer Protection Act, and (2) to
determine the amount of statutory damages the Class is entitled to prior to the entry of final
judgment.

Pursuant to Federal Rule 55(d)(2): “The court may conduct hearings or make referrals—
preserving any federal statutory right to a jury trial—when, to enter or effectuate judgment, it
needs to: (A) conduct an accounting; (B) determine the amount of damages; (C) establish the

truth of any allegation by evidence; or (D) investigate any other matter.” See also Local Rule
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4.04(b) (“If discovery relating to class action issues is needed, the parties may move the Court
for leave to take such discovery prior to the case management meeting.”’).

In this case, the Court has conditionally certified a Class after Defendant’s default, and
finds that discovery is necessary (1) to determine whether Plaintiff can identify recipients of
Defendant’s calls that are members of the conditionally certified Class to effectuate class notice,
and, if so, (2) to determine the total number of calls each Class member received so that statutory
damages of $500 per call can be determined on a classwide and per Class member basis prior to
the entry of final judgment.

The Court therefore grants Plaintiffs motion and authorizes Plaintiff to take discovery as

needed to obtain call logs identifying TCPA violative calls to Class members.

 

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DONE AND ORDERED in Tampa, Florida this [* day of ins - , 2019.
WILLIAM F, “UNG

UNITED STATES DISTRICT JUDGE
